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                   DECLARATION OF MICAH WEST IN SUPPORT OF
                     MOTION FOR PRELIMINARY INJUNCTION
                      & MOTION FOR CLASS CERTIFICATION

       I, Micah West, an attorney for Plaintiff in this matter, state:

       1.      I am a staff attorney for the Southern Poverty Law Center and have knowledge of

the facts contained herein.

       2.      A Table of Exhibits is attached hereto for the Court's convenience.

       3.      Attached as Exhibit A is a true and correct copy of the Bail Schedule for

Randolph County (as revised February 18, 2016).

       4.      Attached as Exhibit B are true and correct copies of 20 Orders on Initial

Appearance entered in Randolph County.

       5.      Attached as Exhibit C is a true and correct copy of a May 4, 2017 press release

from the New Jersey Administrative Office of the Courts entitled First Quarter Statistics Show

Criminal Justice Reform Meeting Initial Goals.

       6.      Attached as Exhibit D is a true and correct copy of the jail logs produced to me

by Jamie Kidd. The logs were originally produced as an Excel spreadsheet; they have been

printed as a PDF for purposes of this declaration.

       7.      Attached as Exhibit E is a true and correct copy of the Order and Judgment

entered April 26, 2016 in Martinez v. City of Dodge City, District of Kansas Case No. 15-CV-

9344-DDC-TJJ.

        8.     Attached as Exhibit Fis a true and correct copy of the Statement oflnterest of the

United States filed February 13, 2015 in Varden v. City of Clanton, Middle District of Alabama

Case No. 2:15-cv-34-MHT-WC.




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        9.     Attached as Exhibit G is a true and correct copy of the Brief for the United States

as Amicus Curiae Supporting Plaintiff-Appellee and Urging Affirmance filed August 18, 2016 in

Walker v. City ofCalhoun, 11th Circuit Case No. 16-10521-HH.

        10.    Attached as Exhibit H is a true and correct copy of the American Bar

Association's Criminal Justice Section Standards on Pretrial Release, last accessed May 12,

2017.

        11 .   Attached as Exhibit I is a true and correct copy of a publication of the Laura and

John Arnold Foundation by Christopher T. Lowenkamp, Marie VanNostrand, and Alexander

Holsinger entitled Investigating the Impact of Pretrial Detention on Sentencing Outcomes,

published in November 2013.

        12.    Attached as Exhibit J is a true and correct copy of a paper by Megan Stevenson

entitled Distortion ofJustice: How the Inablity to Pay Bail Affects Case Outcomes dated January

8, 2017.

        13.    Attached as Exhibit K is a true and correct copy of a paper by Arpit Gupta,

Christopher Hansman, and Ethan Frenchman entitled The Heavy Costs of High Bail: Evidence

from Judge Randomization dated August 18, 2016.

        14.    Attached as Exhibit L is a true and correct copy of a publication of the

Department of Justice National Institute of Corrections by Timothy R. Schnacke entitled

Fundamentals of Bail: A Resource Guide for Pretrial Practitioners and a Framework for

American Pretrial Reform, published in September 2014.

        15.    Attached as Exhibit M is a true and correct copy of a publication of the Pretrial

Justice Institute by Michael R. Jones entitled Unsecured Bonds: The As Effective and Most

Efficient Pretrial Release Option, published in October 2013 .




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       16.     Attached hereto as Exhibit N is a true and correct copy of an online newspaper

article by Kevin Litten entitled New Orleans City Council votes to end jailing of indigent

offenders on minor crimes, published in The Times Picayune on January 12, 2017.

       17.     Attached as Exhibit 0 is a true and correct copy of a report by Mark Heyerly

entitled Pretrial Reform in Kentucky, published in January 2013.

       18.     Attached as Exhibit P is a true and correct copy of a publication of the Laura and

John Arnold Foundation by Christopher T. Lowenkamp, Marie VanNostrand, and Alexander

Holsinger entitled The Hidden Costs ofPretrial Detention, published in November 2013.

       19.     Attached as Exhibit Q is a true and correct copy of an article by Paul Heaton,

Sandra Mayson & Megan Stevenson entitled The Downstream Consequences of Misdemeanor

Pretrial Detention, published in the Stanford Law Review in March 2017.

       20.     Attached as Exhibit Risa true and correct copy of a December 6, 2016 web story

by the Southern Poverty Law Center entitled SPLC prompts 50 Alabama cities to reform

discriminatory bail practices.

       21.     Attached as Exhibit S is a true and correct copy of an online newspaper article by

Arny Julia Harris entitled Alabama cities agree to stop jailing people too poor to post bond,

published in Reveal on December 8, 2016.

       22.     Attached as Exhibit T is a true and correct copy of an online newspaper article by

Kent Faulk entitled Jefferson County bail reforms aimed at keeping poor out ofjail, published on

Al.corn on May 10, 2016.

       23.     Attached as Exhibit U is a true and correct copy of Release Rates for Pretrial

Defe ndants within Washington, DC, as produced by the Pretrial Services Agency for the District

of Columbia.




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        24.    Attached as Exhibit V is a true and correct copy of Outcomes for Last Four

Years, compiled by the Pretrial Services Agency for the District of Columbia. The tables on this

document were downloaded separately from the web page in order to capture data available

online through an embedded application.

        25.    Attached as Exhibit W is a true and correct copy of The D. C. Pretrial Services

Agency: Lessons from Five Decades of Innovation and Growth, published as Volume 2 No. 1 of

Case Studies, an e-publication of the Pretrial Justice Institute.

        26.    Attached as Exhibit X is a true and correct copy of Pretrial Release and

Misconduct in Federal District Courts, 2008 - 2010, a special report by Thomas H. Cohen and

published by the United States Department of Justice Bureau of Justice Statistics in November

2012.

        27.    Attached as Exhibit Y is a true and correct copy of the Affidavit of Substantial

Hardship and Order forms approved by the State of Alabama Unified Judicial System as Forms

10-C, 10-C(A), and 10-C(B).

        28.    Attached as Exhibit Z is a true and correct copy of the Foley Municipal Court

Standing Order Regarding Bail entered December 27, 2016.

        29.    Attached as Exhibit AA is a true and correct copy of the International

Association of Chiefs of Police's Resolution on the Pretrial Release and Detention Process,

entered October 21, 2014.

        30.     Attached as Exhibit BB is a true and correct copy of the Pretrial Justice Institute's

publication Pretrial Justice: How Much Does it Cost?.




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          31 .   Attached as Exhibit CC is a true and correct copy of the United States Courts'

July 18, 2013 publication Supervision Costs Significantly Less than Incarceration in Federal

System.

          32.    Attached as Exhibit DD is a true and correct copy of a report of the Prison Policy

Initiative by Peter Wagner and Bernadette Rabuy entitled Following the Money of Mass

Incarceration, published January 25, 2017.

          33.    Attached as Exhibit EE is a true and correct copy of Incarceration 's Front Door:

The Misuse of Jails in America, a publication of the Vera Institute of Justice by Ram

Subramanian, Ruth Delaney, Stephen Roberts, Nancy Fishman, and Peggy McGarry released in

February 2015 and updated on July 29, 2015.

          34.    Attached as Exhibit FF is a true and correct copy of web story entitled Jefferson

County bail reforms aimed at keeping poor out ofjail by Vanessa Sorrell Burnside, published in

the Randolph Leader on February 10, 2016.

          35.    Attached as Exhibit GG is a true and correct copy of the Brief for American Bar

Association as Amicus Curiae in Support of Appellees and Affirmance filed February 13, 2015

in Walker v. City of Calhoun, 11th Circuit Case No. 16-10521.

          36.    Attached as Exhibit HH is a true and correct copy of the National Sheriffs'

Association Resolution 2012-6, National Sheriffs' Association Supports & Recognizes the

Contribution of Pretrial Services Agencies to Enhance Public Safety, adopted June 18, 2012.

          37.    Attached as Exhibit II is a true and correct copy of a speech made by Vanita

Gupta, Head of the Civil Rights Division of the U.S. Department of Justice, on February 19,

2016 and published online as Head of the Civil Rights Division Vanita Gupta Delivers Remarks

at the Symposium on the Criminalization ofPoverty at University of Michigan Law School.




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       38.    Attached as Exhibit JJ is a true and correct copy of a letter dated October 25,

2016 from Brian E. Frosh, Maryland Attorney General, to the Honorable Alan M. Wilner, Chair,

Standing Committee on Rules of Practice and Procedure.

       39.    Attached as Exhibit KK is a true and correct copy of Answer to Plaintiffs' Third

Amended Complaint by Sheriff Vicki Hennessy filed November 1, 2016 in Buffin v. Hennessy,

Northern District of California Case No. C15-4959-YGR.

       40.    Attached as Exhibit LL is a true and correct copy of The Coming Constitutional

Crisis in Bail: I* by Caleb Foote, published in the University of Pennsylvania Law Revew in

May 1965.

       41.    Attached as Exhibit MM is a true and correct copy of the cover, cover page,

copyright information, and forward to Ronald Goldfarb's Ransom: A Critique of the American

Bail System, published in 1965. The forward was written by the Honorable Arthur J. Goldberg.

       42.    Attached as Exhibit NN is a true and correct copy of President Lyndon B.

Johnson' s Remarks at the Signing of the Bail Reform Act of 1966, published online through the

American Presidency Project.

       43 .   Attached as Exhibit 00 is a true and correct copy of The Price of Jails:

Measuring the Taxpayer Cost of Local Incarceration, a publication of the Vera Institute of

Justice by Christian Henrichson, Joshua Rinaldi, and Ruth Delaney released in May 2015.

       44.    Attached as Exhibit PP is a true and correct copy of the Laura and John Arnold

Foundation's Pretrial Criminal Justice Research Summary dated November 2013.

       45.    Attached as Exhibit QQ is a true and correct copy of an article by Nick Pinto

entitled The Bail Trap, published in the New York Times on August 13, 2015.




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       46.    Attached as Exhibit RR is a true and correct copy of census data for Randolph

County, Alabama, including the table Poverty Status in the Past 12 Months: 2011-2015

American Community Survey 5-Year Estimates, compiled by the U.S. Census Bureau.

       47.    Attached as Exhibit SS is a true and correct copy of the complaint charging

Plaintiff Kandace Kay Edwards with possession of a forged instrument in the second degree.

       48.    SPLC has contacted every Alabama municipality ove.r 5,000 people about their

municipal court bail procedures. SPLC has received standing orders or correspondence from 73

municipalities indicating that they no longer require most municipal court defendants to pay

secured money bail following arrest for a misdemeanor or municipal offense.

       49.    On April 6, 2017, I reviewed the Randolph County jail logs, which are available

online. There were 40 people detained on that date on a money bail amount.

       I swear, under penalty of perjury, that the information in this affidavit is true to the best

of my memory, knowledge, and belief.

       Executed at Montgomery, Alabama this May 18, 2017.



                                             Micah West
                                             Staff Attorney, Southern Poverty Law Center




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                                CERTIFICATE OF SERVICE

       I hereby certify that arrangements have been made to, on this date, deliver a true and

coITect copy of the foregoing by hand delivery to the following at the below addresses:

       David Cofield, Sheriff                             Hon. Jill Puckett, Magistrate
       Randolph County Sheriffs' Office                   Randolph County Dist1ict Court
       1 N Main Street                                    1 N Main Street
       Wedowee, AL 36278                                  Wedowee, AL 36278

       Christopher May, Circuit Clerk                     Hon. Clay Tinney, Judge
       Randolph County Circuit Comi                       Randolph County District Court
       1 N Main Street                                    1 N Main Street
       Wedowee, AL 36278                                  Wedowee, AL 36278

Fonnal proof of service will be filed with the Court when completed.

       I further certify that arrangements have been made to, on this date, deliver a true and

correct comiesy copy of the foregoing by hand delivery and by electronic mail to the following:

       James W. "Jim" Davis, Section Chief                Jamie H. Kidd
       Constitutional Defense Section                     J. Randall McN eill
       Office of the Attorney General                     WEBB &ELEY, P.C.
       501 Washington A venue                             P.O. Box 240909
       Montgomery, AL 36104                               Montgomery, AL 36124
       E: jimdavis@ago.state.al.us                        E: jkidd@webbeley.com
                                                          E: rmcneill@webbeley.com
       John Alvin Tinney
       Randolph County Attorney
       P.O. Box 1430
       Roanoke, AL 36274-9121
       E: johntinneyattomey@gmail.com

on this May 18, 20 17.


                                     Samuel Brooke
